Case 1:22-cv-20955-DPG Document 113 Entered on FLSD Docket 07/21/2023 Page 1 of 4




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION


 In re Lakeview Loan Servicing Data Breach          Master Case No. 1:22-cv-20955-DPG
 Litigation



                            NOTICE OF SELECTION OF MEDIATOR


         Pursuant to the Court’s Case Management Order [DE 53], notice is hereby given that the

  parties hereby agreed upon and already mediated in this matter on April 17, 2023, with certified

  mediator:

         Rodney Max
         Upchurch Watson White & Max
         One Biscayne Tower
         2 South Biscayne Boulevard Suite 2030
         Miami, FL 33131



  Dated: July 21, 2023

  Respectfully submitted,
  By: /s/Julie Braman Kane     .




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  With permission of
Case 1:22-cv-20955-DPG Document 113 Entered on FLSD Docket 07/21/2023 Page 2 of 4




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                                            2
Case 1:22-cv-20955-DPG Document 113 Entered on FLSD Docket 07/21/2023 Page 3 of 4




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                         ATTESTATION REGARDING SIGNATURES
         Pursuant to the CM/ECF Administrative Procedures for the United States District Court,

  Southern District of Florida, I, Julie Braman Kane, Plaintiffs’ Lead and Liaison Counsel, hereby

  attest that Lakeview Loan Servicing, LLC, on whose behalf this filing is submitted, concur in the

  content and have authorized the filing of the Notice of Selection of Mediator.

  Dated: July 21, 2023

                                                              /s/ Julie Braman Kane
                                                              Julie Braman Kane
                                                              Florida Bar No.: 980277




                                                  3
Case 1:22-cv-20955-DPG Document 113 Entered on FLSD Docket 07/21/2023 Page 4 of 4




                                  CERTIFICATE OF SERVICE

         I hereby certify that on July 21, 2023, I electronically filed the foregoing document with

  the Clerk of the Court using CM/ECF. I also certify the foregoing document is being served today

  on all counsel of record in this case via transmission of Notice of Electronic Filing generated by

  CM/ECF.



                                                              /s/ Julie Braman Kane
                                                              Julie Braman Kane




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